Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 1of48 Pageid#: 600

IN THE UNITED STATES DISTRICT COURT FOR THE

WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

UNITED STATES OF AMERICA,

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)
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)
MANFREDO M. MADRIGAL, III, )
)
)

Defendant.

Case No. 3:22-CR-00019-NKM-JHC

APPENDIX OF EXHIBITS IN SUPPORT OF AFFIRMING THE MAGISTRATE’S
MARCH 2, 2023, $20,000 BOND AND CONDITIONAL RELEASER ORDER

Defendant, Manfredo Martin-Michael Madrigal, II “Madrigal” or “Defendant”), by and

through the undersigned counsel ROYER CARAMANIS PLC and MAHER LEGAL SERVICES

PC, respectfully submits these Exhibits cited and in support of Madrigal’s MEMORANDUM IN

SUPPORT OF DEFENDANT’S MOTION TO RECONSIDER ORDER IMPOSING PRETRIAL

DETENTION filed contemporaneously this 17th day of March 2023. 18 U.S.C. § 3142.

KR ROKK

DESCRIPTION OF EXHIBIT
Video/Audio Recording from January 2021 Detailing

Victim 2’s Threat to Ruin Madrigal’s Life (thumbdrive provided).........

Sworn declaration from Joseph Bruno Detailing Instances Where Madrigal

Saved Bruno’s Life in Close Quarters Combat with the Enemy ...........

Victim 2’s Sworn Recantation and Clarification of No Violence
“Tt was never my intention for Manfredo to be arrested and charged
with a crime he did not commit”

Judge Advocate General’s Corps G-2 (“Intelligence’’) Out-Processing Form

Showing No 18 U.S.C. § 1001 Advisement/Warning ...................000

Updated “Adjustment Letter” from Albemarle Charlottesville Regional Jail
Noting No Incidents over Eight Months of Pretrial Detention and

Substantial Educational and Self-Improvement Courses................0665

COO Ode ee eee eee ee eee ee eee eee

EXHIBIT NO.
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 2 o0f 48 Pageid#: 601

Madrigal’s 4.0 GPA Masters Degree Transcript ....... 00... ccc ce cece cece eens tetas ea eee eee eenens 6
Madrival’s 3.06 GEA Jatis Doctor Tratserint cnces nscnennna onaeRN 7

Select Portions of Release Hearing Transcript Dated March 2, 2023,
As Cited in Madrigal’s Memorandum (and in order of citation)................ cece 8

Representative Examples of Uncorrected Gov’t Overstatements, Omissions,

and Unreliable Interences ccanmenmnnmarcuem emanate meme mrers 9
Declaration of David Madrigal, Esquire — Madrigal’s Brother .................cceceeeeee eee e eens 10
Declaration of Wik. Mrs, Mantredo: Madtipal, Jt. sca con concmniens oom wea as il
Color Digital Image of Madrigal Family Residence in St. Charles, Illinois .................04. 12

Respectfully submitted,

/s/Jessica F'. Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@re.law

/s/ John N. Maher

John N. Maher (IL Bar #6237599)
Kevin J. Mikolashek

MAHER LEGAL SERVICES, PC
17101 71st Avenue

Tinley Park, Illinois 60477

Tel: (708) 781-9212

Fax: (708) 781-9693
john@maherlegalservices.com
kevin@maherlegalservices.com
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 30f 48 Pageid#: 602

CERTIFICATE OF SERVICE

I hereby certified that on this 17th day of March 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.

/s/Jessica F. Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@re.law
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 4o0f 48 Pageid#: 603

IN THE UNITED STATES DISTRICT COURTFOR THE
WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

UNITED STATES OF AMERICA,

Case No. 3:22-CR-00019-NKM-JHC

)
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)
)
)
MANFREDO M. MADRIGAL, III, )
)
)

Defendant.
DECLARATION OF JOSEPH BRUNO

i My name is Joseph Bruno. I am a citizen of the United States over the age of 18
years, reside in NY, and am a Mason helper for NYCHA.

De I was Honorably discharged from the US Army after serving for close to eight years
in predominantly special operations. I had multiple combat roles mostly as a team leader for
Infantry assignments.

3. Madrigal and I met in 2010 when he first came to 1° Battalion 75" Ranger
Regiment in Savannah GA. He learned and performed outstanding in comparison to his peers
during our training cycle. Battalion isn’t an easy environment to perform well in.

4, Madrigal was on my team and on one night our assault force received gun fire in
the enemy objective we were room clearing through in Afghanistan. Leading my team (Madrigal
directly behind me) through a danger area I slipped and had a weapon malfunction. Madrigal
moved right in front of me without hesitation eliminated terrorists trying to kill us. If Madrigal
didn’t do what he did that night I most likely wouldn’t be with us today. Madrigal was an amazing
Ranger and I owe him more than most people that never been to War comprehend,

a. Madrigal is not a flight risk or danger to anybody. I’ve been diligently praying that
all of this gets behind him, and he moves on to better places as he should be in this life. He is one
of the best Rangers I’ve served with and has more honor and integrity than anyone I know. He
comes from a great family and has accomplished so much in a short time in comparison to so many
other people I know.

I declare pursuant to 28 U.S.C. § 1746 under penalty of perjury that the foregoing is true
and correct.

EXHIBIT

Saas

tabbies"
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 5of48 Pageid#: 604

Executed on this 157!
America.

  

 

y of March, 2023, in the Commonwealth of Virginia, United States of

Respectfully submitted,

/s/Jessica F. Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@rc.law

/s/ John N. Maher

John N. Maher (IL Bar #6237599)
Kevin J. Mikolashek

MAHER LEGAL SERVICES, PC
17101 71st Avenue

Tinley Park, Illinois 60477

Tel: (708) 781-9212

Fax: (708) 781-9693
john@maherlegalservices.com
kevin@maherlegalservices.com
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 6 of 48 Pageid#: 605

CERTIFICATE OF SERVICE

I hereby certified that on this (ity of March 2023, I electronically filed the foregoing
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing

to all counsel of record.

/s/Jessica F. Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@re.law
“NN

Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 7 of 48 Pageid#: 606

AFFIDAVIT OF NON-PROSECUTION

My name SE | a {firm that 1 am competent to make this statement and
that I do so without any duress. The statements contained herein are true and accurate.

Lam listed as a victim #1 in Case #20115959 against Manfredo Madrigal, whom I am
awate has been charged with assault on a family or household member in the third degree.

I want to advise the Court and the prosecuting attorney, that I do not wish to pursue
charges in this matter. I would like for the prosecution of this case to be withdrawn, dismissed,
and terminated. I do not want to testify in this case, although I understand I may be compelled to
do so.

On the evening of January 29, 2020, my intentions and hopes were that police officers
would simply help deescalate a verbal argument. I never had the apprehension of imminent
physical injury to myself or a family member. I believe Deputy Barber’s report grossly
mischaracterizes the events of that evening for several reasons.

Deputy Barber incorrectly stated in his report that Manfredo “hit” my hands away. This is
simply not a true statement nor what I told Deputy Barber. I told Deputy Barber that I had placed
my hands on Manfredo to try to encourage him to go to bed and he simply brushed them off
without any malicious intent. I would like to reiterate that Manfredo never purposefully or
indirectly created the apprehension of physical imminent injury to myself or a family member.

Deputy Barber included in his report that I stated Manfredo pushed Mr. Eddings.
However, he neglected to accurately record the entire narrative. Manfredo did not initiate any
physical altercation with Mr. Eddings. At this point of time, Mr. Eddings was attempting to usher

Manfredo to bed, which led to Manfredo pushing him off him.

EXHIBIT

1 of 2 4 3
. Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 8 of 48 Pageid#: 607

Additionally, I would like to bring it to the Court’s attention that | expressly told Deputy
Barber that I simply wanted some separation from Manfredo at the time so cooler heads could
prevail. Deputy Barber then told me that the only option would be to arrest Manfredo because he
could not simply ask him to leave. I even asked Deputy Barber if it were possible for them or a
taxi to take Manfredo to a hotel for the evening. He told me the only possible courses of action
was an arrest, an official letter of eviction, or me leaving the house. It was never my intention for
Manfredo to be arrested and charged with a crime that he did not commit.

I AM SIGNING THIS AFTDIAVIT VOLUNATIRLY. I HAVE NOT BEEN COERCED

OR THREATENED IN ANY WAY TO SIGN THIS AF TIDAVT.

 

17 February 2020

2 of 2
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 9of48 Pageid#: 608

Acknowledgement - Arkansas Individual Acknowledgement

    
 

State of Arkansas
County of Boone

 
 

 
   

        
      
   
   
 

On this the 17th day of February ,2020 _beforeme __ Jacob Shiarla_gy,a
Notary Public, appeared the within none «knw to me or
satisfactorily proven to be such person whose name(s) is/are stated and acknowledged that
he/she/they have so signed, executed, and delivered said instrument for the uses and
purposes therein mentioned and set forth.

In testimony whereof, | have hereunto set my hand and official seal on this 17th day of
February , 20 2,

   
 
  
    
 
 
     
   

 
  

ACOB SHIARLA
weaaey Public— Arkansas
Boone County
Commission # 42701395 sees
My Commission Expires Jul 1% =

   

My Commission Expires: 97/11/2027

 

Description of Attached Document

  

Title or Type of Document: Affadavit of Non-prosecution

 

Document Date: 02/17/2020 Number of Pages: 2

   

 

 
Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 10 of 48 Pageid#: 609

Cul

(When filled in)

The Judge Advocate General's Legal Center and School
G2 SECURITY OUT-PROCESSING REQUEST

  

Personnel with TJAGLCS accounts (NIPR,. SIPR.) and/or-a facilily access badge issued by TJAGLCS are required to out-process with ee G2
Security Office IN-PERSON o7 their last date. When an employee is unable, or fails,.to out-process; the supervisor will take the necessary steps to efjsure the
return of the employee's badge and will have this form executed for the employee. Virtual out-processing Is not authorized unless an exception to policy
is approved in advance,

Sections 2-6 are required for all TJAGLCS: CIV, MIL, and CTR personne! REGARDLESS of clearance, access, or program affiliation.

SECTION 1:
Completed by the employee or the employee's Supervisor or COR,

 

Employee's Name (Last, first Mil): YNodiinads VNenkerdo, A
Employee Type: (Select one):

O ClWiGrade: _____  MIL/Rank: \WX C1 CTR/Gompany:

 

Supervisor or COR, \=iq Nene
Date of Out-processing (Last day in the facility): GQMASQweur

Reason for Departure (Select one): 0 Retirement: OPCS 0 Termination 5Other:. <4

 

 

 

-. SECTION 2:

 

TJAGLCS Badging.

The below signature.verifies that the employee Identified in Section 1 of this document:-has relinquished any current.

 

 

 

 

Date; 2% Feb Ze

SECTION 3:

 

Annual Training Requirements
Have you. completed thie following In the last 12 months? | %-* *

SCI Security Refresher Training [1 Yes C1 No Ga N/A

Anti’ Terrorism Level 1 Training Yes C1No C1 NIA

Derivative Classification Markings Training [-Yes"*'No TNA
Threat Awareness and Reporting Training Exes: FINo ONIA
SERE Training. O Yes C1No O N/A

ISOPREP: (Yes [No C1 NIA.

Employee stanetunen22" 2

 
 

 

 

>

Date: PANTO) |

 

EXHIBIT

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Rey, 20210527 (When filled in) g t {

 

 

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Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 110f48 Pageid#:610 ~~
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(When filed in)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

  
 
   

 

 

 

 

SECTION 4:
Foreign Travel Debriefing
Have you traveled outside of the US while assigned-to TJAGLGS? [YES LINO
If YES specify Location and Dates Below
Location WA Date:
Location Lf te Date:
Location Wf be Date:
SECTION 5:
. Foreign Contact Debriefing
Have you had any contact with a foreign national while assigned to TJAGLGS? CYES ‘PANO
if YES please complete below
“e Full Name Left. Date Begin Contact: Date End Contact
= Full Name Aft Date Begin Contact Date End Contact:
SECTION 6:
TJAGLCS Security Debriefing
| acknowledge that it is a crime.to knowingly make any materially false, fictitious, or fraudulent statement or
representation in any matter within the:jurisdiction of the Executive Branch of the. United States, per 18 U.S.C. 1001.
| ignature 27). -i_Y ; Batwadg
Employee signature y 7) Aa Ts ———— Date; mad.
SSO Signature: LSE Date: 22 Feb 22
Witness Signature:_| 0,0. Wicd ae “Date: 2.2 el, 22_
G2use only: O SF-312 0.4414 q NATO. C1 Security File 0 piss f1GUBE Accs
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Rev. 20210527 (When filled in).

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Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 12 of 48 Pageid#: 611

Jessica Phillips

From: Irv Ellman <irv@dominioninvestigativegroup.com>

Sent: Monday, March 13, 2023 8:35 AM

To: John Maher; Kevin Mikolashek; Jessica Phillips; v
Subject: Ms. HENSLEY, Adjustment letter

John, | spoke with Ms. HENSLEY at the Albemarle County jail this AM in reference to the adjustment letter for the client.
Ms. HENSLEY advised that there have been no changes relating to the clients behavior/adjustment since the previous
letter on 02 24 2023.

Irv

Irv Ellman
Dominion Investigative Group LLC
Virginia Private Investigator License #11-8997

This e-mail may contain confidential and/or privileged information. If you are not the intended recipient please destroy
the message and all attachments.

EXHIBIT

   
a

Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 13 of 48 Pageid#: 612

160 Peregory Lane
Charlottesville, VA 22902

Phone (434)977-6981 Fax: (43.4) 972-5312
WWW. acrj.org

 

Colonel Martin Kumer
Superintendent

February 24, 2023

Re: Jail Adjustment for Manfredo Martin Madrigal II], DOB (ga

To Whom It May Concern:

Mr. Madrigal began his incarceration at the Albemarle Charlottesville Regional Jail on November 7,
2022. Upon his intake, Mr. Madrigal was placed in mandatory quarantine, completing on October 19
2022. On the same day, an Intake ake ables Risk Screener was completed on Mr. Madrigal with the

end result being a low recidivisini rate an classes Were recommended.

Mr. Madrigal completed #6 Edovo Courses for a total of 56.84 hours in education for a total of 201

lessons completed nleted {separate pages of all of the courses completed),

Mr. Madrigal has not received any institutional charges.

Please feel free to contact me at 434.977.6981 ext, 327 if you have any further questions.

Respectfully,

Fi e5 Menai).

X Lisa Hensley,M.S.
Case Manager
Albemarle-Charlottesville Regional Jail
160 Peregory Lane
Charlottesville, VA 22902
(434) 977-6981 Ext. 327
hensleyl@acrj.org

ALBEMARLE-CHARLOTTESVILLE REGIONAL JAIL

 

EXHIBIT

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Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 14 o0f 48 Pageid#: 613

 

Name:

institution Info:

Print Date:

Program.

Gourse

JOUR 840
Course Tople:
LAW- 816
LAW 817
PRVM 806

Term GPA

Gum GPA

Program;

Sourse

LAW 815
LAW 817
LAW: 818
PUAD 850

Term GPA

Cum GPA

Program:

Course
LAW 817

Term GPA

THE-UNIVERSITY OF

Graduate Academic-Summary - Unofficial.

Manfredo Madrigal
Student ID: 2893911

Universily of Kansas
Lawrence; KS 66045
08/05/2019

Law Graduate
Descriplion
Seminar in:

Crisis Communications

Beginning of Graduate Record

2019Fall

Domste Aspects Homeland Secrly
Homeland Sectully Practictini

Special Topics:

4.000 Term Tolals.

4.000 Cum Totals.

Law Graduate
Description

2079Spring

Int Aspects of Homeland Secrty.
Honieland Security Practicum
Gonstunt Limils Intel Gathting
Intergovernmental Relations

4.000 Term Totals

4.000 Cum Totals

Law Graduate

Descripiion

2019Summer

Homeland Security Practloum

4.000 Term Totals

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3.000 3.000

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EXHIBIT

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Pags 1 of 2
Grade Points
A 12,000,
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A. 42,000
GPA Units. Points
10.000 40,000.
10.000 40:000.
Grade Points
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GPA Units Points
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21.000 84,000
Grade Points
A 12,000
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Case 3:22-cr-00019-NKM Document 97° Filed 03/26/23 Page 15o0f48 Pageid#: 614

Cum GPA

Graduate Career Totals:

Cum GPA:

4,000 Gum Totals 24.000

4.000 Cum Totals 24.000
Non-Course Milestones.

Master's Degree General Exam

Stalus;
Program:

Dale Completed:

Milesiorie Level:
Date Atlempted:

Master's Thesls,
Status;

Program:

Date Completed:
Milestone Title:
Date Altempted:

‘Completed

Law Graduate,
06/17/2019
Satisfactory”
06/17/2019-Gompleted

Completed

Law Graduate
08/01/2049.

Practicum Experlence
08/01/2019:Compleled

End of Graduate Academic.Summary-- Unofficial

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Case 3:22-cr-00019-NKM Document 97 _ Filed 03/26/23

 

Page 16 of 48 Pageid#: 615

 

 

 

Page 1 of 3
THE UNIVERSITY OF -
Law Academic Summary - Unofficial

Name: Manfredo Madrigal

StudenitID: 2893941

Institution Info: Universily of Kansas

Lawrence; KS 66045
Print Date: 08/05/2019
Beginning of Law Record.
2016Summer

Program. Law Professional

Coursé Description Altempted Earne Grade Points
LAW: 826 Property 2,000 2,000 B 6,000.
LAW: 826 Properly 2,000 2.000, B- 5,400
LAW. 834 Torts | 2.000 2,000 Gt 4;600.
LAW. 831. Torts | 2:000 2.000 B- 5;400

Altempted Earned GPA Unils Points
Term GPA 2,680 Term Tolals 8.000 8.000, 8.000 21,400
Cum GPA 2,680 Cum Totals 8.000 8.000 8.000 21.400
2076Fall

Program. Law Professional

Course Description Alltempted Eamed Grade Points
LAW. 804 Givil Procedure 4,000. 4,000 B- 10.800
LAW. 809 Cofitracts 4,000. 4,000 B+ 13.200
LAW. 820 Lawyering Skills | 2,000 2.000 B 6.000
LAW 865 Business:Associations | 3.000 3.000 C+ 6.900
LAW 972 Professional Responsibility 2,000, 2,000 B 6:000

Allempted Earned GPA Unils Points
Term GPA 2,860 Term Totals 15.000 15.000 15,000 42.900
cum GPA 2,800 Cum Totals 23.000. 23.000 23.000 64,300
2017 Spring

Prograin: Law Professlonal

Course Desoripfion ilempted Earned Grade Points
LAW 806 Introducin Gonstilutional. Law 4,000 4,000 B- 10,800.
LAW 8i4 Criminal Law 4,000, 4,000 B+. 13.200
LAW 821 Lawyering Skills:|] 3.000 3.000 Cr 6.800
LAW 866 Business Assoclalions II 3,000 3.000 B 9,000

EXHIBIT
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Case 3:22-cr-00019-NKM Document 97 Filed 03/26/23 Page 17 of 48 Pageid#: 616

 

 

 

Attemple Eatned SPA Uniis Poinis
Term GPA 2.850 Term Tolals 14,000 14,000 14,000 39.900
Gum GPA 2.820 Cum Totals 37.000, 37.000 37.000 404:200.
2017Summer
Program: Law Professional
Goursé Description Attempted Earned Grade Points
LAW 933 Judicial. Field Placement. Prog, 3.000 3.000 CR 0,000.
LAW 933 Judicial Fleld Placement: Prog 3.000 3.000 CR 0,000
{temple Earned GPA Unlts. Polnis
Term GPA 0.000 Term Tolals. 6.000 6.000 0.000 0.000
Gum GPA 2.820 Cum Totals 43,000 43.000 37.000 104.200
2047Fall
Program; Law Professional
Course Description — ttempted Eamed Grade Points
LAW 860 Alternative Dispute Resolution 3,000. 3.000 Bt 9.900,
LAW 886 Civil Rights.Actions. 3.000. 3,000 B 9,000
LAW. 908 Evidence 3,000. 3,000 Ct 6,900
LAW 944 International Trade Lay 3,000 3.000 A 14.100
LAW 945 Intérnain| Gommerce&investmnent, 3,000 3,000 B 9.000.
Attempted Eamed GPA-:Units. Points
Term GPA 3.060 Term Tolals. 45,000 15,000 45.000 45,900
Cum GPA 2.880 Cum Totals 58.000 58.000 52.000 450.100
2018Spring
Program: Law Professional
Course Descriplion Attempted Eamed Grade Points
LAW 843 Law of War-Hist,Prinepl&Practe 2.000 2.000 A 8,000
LAW: 864 Adyined International Trade Law 3,000 3.000 B. 9:000
LAW 878 Griminal Procedure 3,000 3,000 Bt 9:900
LAW: 928 Remedies 3,000. 3,000 B 9.000
LAW. 992 Trial Advocacy. 3.000. 3.000 A 42.000.
LAW. 994 Special Topics: 1,000, 1.000, A 4:000°
Course Topic: Landmark Supreme Court.Cases
Attempted Earmed GPA Unlits- Points
Term GPA 8.460 Term Tolals. 15,000. 45.000 45,000 51-900,
Cum GPA 3,010 Gum Totals. 73,000. 73,000 67,000 = 202,000.
2018Fall
Program: Law Professional
Course Description Attempted Eamed Grade Points
LAW- 827 International Law and Litertre 3,000 3.000 A- 11.100°
LAW 873 Gommerc] Law:Secured Transacin 3,000 3.000 Bt 9;800,
LAW. 935 Juvenile Law 2,000. 2.000 A- 7.400
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Term GPA 3.550 Term Totals ~ 8.000 8.000 8,000 28,400
cum GPA 3.070 Gum Tolals 81,000 81.000 75,000 230.400.

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USA vw. Madrigal, 3:22cr19, 3/2/2023

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF VIRGINIA
CHARLOTTESVILLE DIVISION

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UNITED STATES OF AMERICA, CRIMINAL CASK NO.: 3:22CR19
MARCH 2, 2023, 10:21 A.M.
Plaintiff, BOND HEARING
vs.
Before:
MANFREDO MADRIGAL, III, HONORABLE JOBL C. HOPPE
UNITED STATES MAGISTRATE JUDGE
Defendant. WESTERN DISTRICT OF VIRGINIA

KKKKKKEKKHKK KEKE RE KR RRR KKK RR ERK KER KER KK KE KEE RRR KKK RKEKKEKEAKAKAKAEESE

APPEARANCES:

For the Government: JESSICA LEIGH JOYCE, ESQUIRE
United States Attorney's Office
255 West Main Street
Charlottesville, VA 22902
434-284-9555

For the Defendant: JOHN N. MAHER, ESQUIRE

Maher Legal Services, P.C.
17101 Vist Avenue

Tinley Park, IL 60477
708-468-8155

FTR Operator: Karen Dotson

Court Reporter: Lisa M. Blair, RPR, RMR, CRR, FOCR
255 West Main Street, Suite 304
Charlottesville, Virginia 22902
434.296.9284

PROCEEDINGS RECORDED BY ELECTRONIC RECORDING;
EXHIBIT

8

TRANSCRIPT PRODUCED BY COMPUTER.

 

 

 
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APPEARANCES CONTINUED:

For the Defendant:

 

 

USA v. Madrigal, 3:22cr19, 3/2/2023

JESSICA FAY PHILLIPS, ESQUIRE
Royer Caramanis PLC

200-C Garrett Street
Charlottesville, VA 22902
434-260-8767

 
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already failed to respect the criminality of some of his
conduct. He has used his proposed third-party custodians to
further that conduct. And a situation in which he might be at
some other facility, the Court is well aware of kind of the
limitations of pretrial release supervision and the extensive
monitoring that would have to be in place to prevent the
threatening conduct in this cyberstalking case and this
tampering case that is just simply not sufficient to adequately
address the risks here, which are already happening even though
the defendant has no access to devices while he is detained.

THE COURT: Well, Ms. Joyce, you know, of course I
haven't set any conditions. I haven't addressed family members
at any past hearings about direct or indirect contact with
victims or witnesses. You know, I tend to put some stock in
the Court's admonitions to parties and also to other people who
may be involved in executing the Court's orders.

And then as to -- as to the contacts with victims or
the concerns about defendant's use of computers or devices, if
there were a condition that probation had access to any
computers or devices the defendant used and could, you know,
review those, as long as there isn't any review of any
attorney-client information, but to see if the defendant is
engaging in some sort of conduct that could allow him to
onttarst victims or track victims or something along those

lines -- and, of course, if the victims themselves were

 
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abide by the Court orders, and that there is no clear and
convincing evidence that he is going to be a danger to anyone,
especially when this young man's liberty is at stake. He has
been incarcerated for seven months. He's got a fine record in
seven months. Apparently he's popular with the rest of the
pretrial and post-trial detainees. And on top of that, he's
got a constructive attitude as an officer of the court and
member of the Missouri bar that he's not going to disobey your
orders either and subject himself to potential discipline
there.

Thank you, Your Honor. That concludes my remarks.

THE COURT: All right. We are of course here on the
defendant's motion asserting that there is new information
that's material to the detention decision. As I said earlier,
T do think that there is some new information, new
considerations for the Court regarding the defendant's mental
health situation and the potential treatment.

I will tell you that I feel like there is a big piece
of that evidence that's missing right now, though. And that is
while we have a diagnosis and disability rating, I really don't
have much evidence beyond that as to any -- any effect of the
defendant's mental health impairments and alcohol abuse and
exactly what I can do to address those, because I do think that
the evidence that's been presented shows that there is -- there

is a real difference between Mr. Madrigal when he is stable and

 
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when he is unstable. That is -- I think that is my primary
concern. It's a primary concern for Mr. Madrigal's potential
danger to the community and potential flight risk.

MR. MAHER: Judge, can I speak to that?

Before you -- if I may, he was classified as
nonviolent at the jail. He was classified as low recidivism at
the jail. He hasn't had a drink in seven or eight months right
now. He has abided by the law. So that is evidence that
without the alcohol, he is abiding by the law. He's obeying
instructions. He's nonviolent. He's not making threats to
anybody. So I would ask the Court to consider that in its
evaluation on those specific points. And although I think the
statute says the Court may fashion an order to restrict
excessive alcohol, we would abide by the fact that he is going
cold turkey. He's already cold turkey. And if he checks into
the residential treatment program to receive the benefit of
that, is getting the Trazodone for recuperative sleep -- which
he is not getting now -- that we stand to see a very stable
Manny Madrigal, the same kind of stable guy that acquitted
himself for 35 years in some of the most dangerous places in
the world. Now that this has confronted him as an officer of
the court -- his brother is an officer of the court, his father
is an executive, his mother is a loving wife and spouse. On
top of that, his sister and his brother-in-law being all

educated people who live nearby each other. There's numbers of

 
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Security number, and it's registered to a woman who lives in
North Westbury near the embassy, but we don't know who this
foreign national was. So if Manny had no contact with a
foreign national, and instead -- as Manny has shared with us --
he was trying to Google a Russian restaurant which is right
near the embassy because he wanted to get some Russian borscht,
a beef soup -- and he had planned to come up to Washington with
his dog the next day, jog the Mall, and go have some borscht.
And candidly, Judge, I think the blindingly obvious
is Manny was drinking a lot, an awful lot. And when you look
at the video of the destruction of the paralegal slide deck,
it's not necessarily the inferences that can be drawn by the
government's papers and arguments that he is using tradecraft

and espionage, and that he's using his TS/SCI to somehow gain

an advantage to jeopardize American national security. It
looks -- and this is my view, but also the team's view -- as if
he's talking in his sleep. You don't see Manny's face. The

telephone is taking a picture of his computer. And his
lethargy to press the buttons, it's almost as if he is
sleepwalking or in a coma. So we think that that cuts against
any sort of actual real foreign contact or any real intent.
Instead, it could probably be characterized in a toxic
relationship talking between two lovers who have been doing a
lot of drinking and are breaking up. And that to me doesn't

rise to the level of a crime.

 
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educated people who live nearby each other. There's numbers of

 
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conditions where they're not going to take him out to social
settings where theres going to be drinking. There's no alcohol
in the house. Pretrial services mentioned that. And if you
give him an order saying don't buy any alcohol, don't have any
other persons buy alcohol, I imagine this young man will abide
by it. I would pledge that. You need look no further than the
last seven months. No problems.

Thank you, Judge.

THE COURT: So the primary consideration for me is
are there -- is there a condition that can make sure that
Mr. Madrigal is stable at the outset, and then is there
something that can continue that stability? And I do think
that potentially there are conditions that would allow that.

An inpatient facility was mentioned earlier that's in Illinois.
I don't have any familiarity with it. I think the probation
office here doesn't either. So we really would need to have
more information about this facility and the probation office's
approval of the facility. I think that approval would probably
have to at least be started by the probation office in Illinois
that's more familiar with the options there.

Following any inpatient treatment, I think that there
would have to be an aftercare plan that's approved by the
probation office, and it's one that I also think would need to
be informed by the recommendation of the treatment providers at

the inpatient facility. And this really gets to my concern

 
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that there's just kind of a lack of information about the
mental health and alcohol problems. But if there is a -- if
there is a treatment provider that can identify, have
appropriate aftercare following inpatient, I think that that
goes a long way to making sure that Mr. Madrigal is stable, and
it really does lessen the risk that I see to the community and
his nonappearance. And then there would be other conditions
that would provide additional layers of protection. But I will
say this, that his release to an inpatient facility, it really
would have to be essentially a bed to bed where we would need
to have an approved facility, a report date in place before he
could be released.

Now, additionally there would be GPS monitoring, and
that provides me with some assurance that -- at least that
probation is going to know his whereabouts, and that if
something went wrong, that there would be -—- there would be
plenty of leeway time for any victims out there to know that
Mr. Madrigal is not where he is supposed to be. I think that
if he's -- if he's stable and his mental health is being
monitored by treatment providers and the probation office has
access to that, that we're going to -- we're going to know if
there are any problems on the horizon. So I don't think that
there would be -- well, I think the risk that something could
go wrong would be significantly lessened. If Mr. Madrigal is

not using any devices that are capable of accessing the

 
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Internet, then that's another way to address the threats and
some of the other concerns that arise from the allegations in
this case.

The defendant would -- after doing inpatient care,
would I think be residing with his family. I understand that
the probation office in Illinois has said that it's an
acceptable situation. I do want to emphasize to Mr. Madrigal
and to his family that one of the conditions is going to be
that there is no contact, directly or indirectly, with anyone
who is a victim or a witness in the case. Now, it's -- I think
both sides have indicated that some family members are
witnesses or potential witnesses. So I'm going to direct that
there be no case-related communication between the defendant
and any family members, other than talking about logistics for
getting him to and from court.

And, you know, direct or indirect communication with
a victim or a witness, it's of course having -- Mr. Madrigal,
if you talk to someone face to face, if you send someone a
message directly, that would be a violation. If somebody
conveys a message for you or contacts a victim or witness on
your behalf, that's a violation as well. It can be
something -- you know, I've had this come up where a defendant
offered to give a witness a ride somewhere, and that was one of
the acts that I found was a violation of that no contact order.

So it's really -- it's 100 percent no contact, direct or

 
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indirect. And it's something that if there is any, I will
detain you for the rest of the case.

THE DEFENDANT: I understand, Your Honor.

THE COURT: Of course there would be conditions: No
use of alcohol, no firearms, no firearms in the residence. I
think there are probably a few additional standard conditions
that I'll go over.

Ms. Dotson, do you have the paperwork?

Of course, Mr. Madrigal, as counsel said earlier,
would have to surrender his passport to the probation office
and not obtain any passport. You would have to remain in the
Northern District of Illinois and not travel outside of that
district unless he had the permission of the supervising
officer. You have to submit to testing to determine if you're
using any substances and submit to inpatient or outpatient
substance abuse therapy, if directed by the pretrial officer.
Follow the instructions of the supervising officer and report
any contact with law enforcement personnel including arrest,
questioning, or traffic stops.

All right. Does the probation office have any
additional recommendations?

PROBATION OFFICER: Are you holding him for this bed
space?

THE COURT: Yes.

PROBATION OFFICER: I would just like to reach out to

 
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see if this is a good facility, or we could figure out which
one is best. He will have to have a GPS in the facility, which
could be an issue. So I'd like to reach out to them to see if
that will be a problem for them. Civil facilities don't like
that, but I think he should have it on while he is there.

Other than that, if he could just surrender his
firearm license.

THE COURT: Okay.

MR. MAHER: Your Honor, we're prepared to do that
now, if you'd like.

THE COURT: I know the government opposes release,
but are there any additional conditions that the government
would suggest?

MS. JOYCE: No conditions, Your Honor, but at this
time the government would move for a stay of the Court's
decision pending appeal and ask that it gets five business days
to file.

THE COURT: So there is another step that has to be
taken before he would be released, and that's the approval of
any facility. So he's not going to be released today. I think
that should give you enough time to file an appeal, if you want
to.

MS. JOYCE: Okay. Thank you, Your Honor.

(Pause.)

THE COURT: All right. Mr. Madrigal, you will be

 
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released on an unsecured bond of $20,000 with the following
conditions: You must not violate any federal, state, or local
law while on release; that you would cooperate in the
collection of a DNA simple if required by federal law; that you
must advise the court or pretrial services office in writing
before making any change of residence or ealepione number; that
you would appear for court as required, and if convicted, that
you would surrender to serve any sentence that may be imposed;
that you would submit to the supervision and report for
supervision to the probation office.

I want him to meet with the probation office either
today or upon release. I think you would probably need to do
that to fix him with a GPS device.

PROBATION OFFICER: Yeah, I'll have him come so I can
put the GPS placement on him and then go to the inpatient
facility.

THE COURT: All right. So I'll note that you need to
report upon your release from custody. You would have to
surrender your passport to the probation office, and you can do
that today. You may not obtain a passport or other
international travel document. You will have to remain in the
Western District of Illinois and not travel outside of -- or
sorry, the Northern District of Illinois and not travel outside
of the Northern District of Illinois without the permission of

the supervising officer. You'll have to avoid all contact,

 
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directly or indirectly, with any person who is or may be a

victim or a witness in the investigation or prosecution,

including Victim 1 and Victim 2. You'll have to get medical or
psychiatric treatment. You may not possess a firearm,
destructive device or other weapon. You may not use alcohol.

You may not use or unlawfully possess a narcotic drug or other
controlled substance, unless prescribed by a licensed medical
practitioner. You will have to submit to testing to determine
if you're using any substances. You will have to participate
in a program of inpatient or outpatient substance abuse therapy
and counseling if directed by the pretrial services office.

You will be on location monitoring through GPS. You will have
to report as soon as possible to the pretrial services office
any contact with law enforcement personnel; including arrest,
questioning, or traffic stops. You will have to follow the
instructions of the pretrial officer. You will have to
surrender your Illinois firearm license to the probation
office. You may not possess, have access to, or use any device
capable of accessing the Internet.

So for the family, I imagine that you all have
devices yourselves that can access the Internet. Those are
going to need to be password protected, and the defendant is
not to have those passwords and he is not to use your devices.

The defendant shall enroll in, and follow all rules

of, and successfully complete a program of inpatient therapy

 
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for mental health and alcohol abuse as approved by the
probation office, and the defendant shall adhere to an
after-care plan following inpatient treatment. The plan shall
be informed by the recommendation of his mental health
treatment providers and approved by the probation office.

Does the probation office recommend anything
additional?

PROBATION OFFICER: No, Your Honor.

THE COURT: Does the government have anything to say
about the conditions themselves?

MS. JOYCE: Not about the conditions, Your Honor.
But the government would request notice prior to any kind of
release so that it's aware of the timeline regarding that and
so it has a chance to notify the victims.

THE COURT: All right. I think that the notice from
the probation office approving any plan would of course have to
go to the Court, but I would also want that to go to the United
States attorney's office. And then when the marshals are --
once all these conditions are satisfied, when the marshals are
notified that it's acceptable to release the defendant, that
notice should also go to the U.S. attorney's office as well.

Ms. Joyce, is that sufficient?

MS. JOYCE: Yes, Your Honor.

THE COURT: Does the defendant have anything to say

about the conditions?

 
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MR. MAHER: No, Your Honor. Thank you very kindly.

THE COURT: Mr. Madrigal, if you were to violate
these conditions, an arrest warrant could be issued for you and
you could be taken into custody and held for the rest of your
case. You could also be found in contempt of court of this
order for violating the conditions, and the $20,000 unsecured
bond could be revoked and you could be required to pay that
amount to the government.

Now, additionally, while on release if you were to
commit a federal felony offense or if you were to obstruct a
criminal investigation or tamper with a victim, witness, or
informant, or attempt to do so, or if you fail to appear as
required, or fail to surrender to serve any sentence, you could
be charged with another federal offense that's punishable by up
to ten years in prison and a $250,000 fine or both. So
Mr. Madrigal, there are serious consequences if you violate the
conditions. They're even more serious consequences if you were
to commit an offense while on release.

Now, if you agree to abide by these conditions, then
you'll need to sign the conditions as well as the bond.

THE DEFENDANT: Yes, Your Honor, I understand.

THE COURT: As I said earlier, I think there's a real
difference between -- at least the evidence has shown there is
a real difference between Mr. Madrigal when he's stable and

when he's not stable. I think that these conditions

 
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program does not seem to be any different in that way. And the
defendant has -- and defense counsel have not actually proposed
an actual plan. There are no specifics. They have just noted
that the facility exists and the defendant might be qualified
for it.

And finally, even while detained --

THE COURT: Ms. Joyce, some of the statements that
the defendant has made talking about violence, killing,
violating court orders and things, are there some particular
actions that he has taken beyond these statements that we
talked about a lot that are of real concern for the government
that you would point me to?

MS. JOYCE: So I think that the defendant's
contacting Victim 2 after she filed a temporary protection
order against him in January of 2020 is an action he took that
exhibits that he does not respect that court authority.
Additionally, as the Court is aware, the actions that are
alleged in the complaint include very, very concerning
aggressive and violent conduct toward the victims. He has
brandished firearms in their presence. He has wielded weapons
in their presence. He has threatened their lives. He has
threatened their family's lives. He has ground up an entire
bottle of medicine in one of the victim's pet's food dish. He
has destroyed their property. He has, again, stabbed a knife

through an image associated with one of the victim's nicknames.

 
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Madrigal offers the following examples of the Government’s allegations which either do
not paint the entire picture or are contradicted by evidence the Government has in its possession,
custody, and/or control, however, nowhere in the Government’s papers on file to date is mention
of the evidence bearing on the complete truth. The following numbered paragraphs set forth
Governmental allegations followed by Madrigal’s placing the allegation at issue.

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT
AND ARREST WARRANT (DOC 3-1)

GOV’T ALLEGATION 1: “Madrigal claimed Victim 1 was his fiancée. This was
untrue.” (Doc. 17 at 5).

DFENSE RESPONSE 1: On March 1, 2023, Madrigal’s counsel viewed numbers images
in the United States Attorney’s Office (“USAO”) depicting both Madrigal and Victim 1 wearing
what can be seen as engagement rings and/or wedding rings; e.g., USAO Image 003.

GOV’T ALLEGATION 2: “In early 2022... the Army learned Madrigal omitted a DUI
arrest on his application.” Jd. at 4.

DEFENSE RESPONSE 2: Upon a Lawrence, Kansas 2019 arrest for which no conviction
was forthcoming, authorities released Madrigal to his US Army National Guard Company
Commander.

GOV’T ALLEGATION 3: “Evidence also shows Madrigal lied to the Army ...
claim[ing] no contact with a foreign national.” Jd.

DEFENSE RESPONSE 3: To date, the Government has disclosed no evidence that
Madrigal had any contact with an actual foreign national, that Madrigal was issued any warning

or advisement about 18 U.S.C. § 1001 (the TJAGCLS G-2 Out-processing Document (USAO

EXHIBIT

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000006 contains neither the customary executive branch advisement nor warning), nor does Count
II of the Indictment contain the customary advisement/warning language ... that it is a crime to
“knowingly make any materially false, fictitious, or fraudulent statement or representation ... per
18 U.S.C. § 1001.”

GOV’T ALLEGATION 4: “[Madrigal] held a pistol to [Victim 2’s] head, as shown [in a
blurry image taken at Victim 2’s residence].

DEFENSE RESPONSE 4: No firearm can be seen in the image the Government relied
upon to support this allegation. Instead, Madrigal is actually holding up a cell phone to record
Victim 2’s outbursts while under the influence of alcohol.

GOV’T_ ALLEGATION 5: The Government claims Madrigal engaged in unwanted

 

contact with Victim | beyond January 2022.
DEFENSE RESPONSE 5: On February 12, 2022, the following image was taken on

Madrigal’s phone, which is in the Government’s possession:

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INDICTMENT (DOC. 45)

ALLEGATION 1: In paragraph 2, the Government alleges that Madrigal “was discharged
from active duty in 2016.”

DEFENSE RESPONSE 1: Madrigal was honorably discharged from active duty three
times: 2012, 2016, and 2022. Madrigal also received an Honorable Discharge from the Kansas
National Guard in 2020. These records are in the Government’s custody, possession, and control.

ALLEGATION 2: In paragraph 4, the Government describes The Judge Advocate
General’s Legal Center and School “a federal service academy.”

DEFENSE RESPONSE 2: The United States of America runs 19 Federal service
academies, none of which include The Judge Advocate General’s Legal Center and School.

ALLEGATION 3: In paragraph 5, the Government alleges that, “[b]etween August and
December 2020... during this timeframe, the Army determined Madrigal failed to report an arrest
for... DUI.”

DEFENSE RESPONSE 3: Lawrence, Kansas authorities arrested Madrigal in June
2019 for DUI and released Madrigal to his Kansas National Guard Company Commander, First
Lieutenant Blake Stokes (the information is contained on Madrigal’s hard-drive which the
Government confiscated).

ALLEGATION 4: In paragraph 6, the Government alleges relating to the unclassified
paralegal power points slide decks, “Madrigal was granted instructor-level access rights . .. which
allowed him to update . . . as directed by his supervisor,

DEFENSE RESPONSE 4: Madrigal was an administrator with access rights in addition
to instructor access rights, and, the Army authorized Madrigal to make edits and modifications,

sua sponte, and in response to his supervisor.
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ALLEGATION 5: In paragraph 7, the Government alleges relating to the unclassified
paralegal power point slide decks, Madrigal’s action “rendered the [slide deck] inaccessible ...
and required the Army to rebuild portions of the course.”

DEFENSE RESPONSE 5: The slides were saved on a Shared Drive to which others, to
include Madrigal’s supervisor continuously had access, and edits to the slide deck were saved in
paper copy.

ALLEGATION 6: In paragraph 9, the Government alleges Victim | “asked Madrigal not
to message her” on or about February 6 or 7, 2022.

DEFENSE RESPONSE 6: On or about February 12, 2022, Victim 1 had traveled from
her residence in Oklahoma to Madrigal’s residence in Charlottesville and stayed with Madrigal.
On March 5, 2022, and pursuant to the A// Trails app in the Government’s possession, Victim 1
and Madrigal hiked together, after Madrigal traveled from Virginia to Oklahoma, at Woodall
Mountain, Mississippi.

ALLEGATION 7: In paragraph 10, the Government alleges that “no other calls were
received from or placed to the Russian Embassy on this date.”

DEFENSE RESPONSE 7: Madrigal’s phone records show that his first call on February
7, 2022, was to the Russia House restaurant.

ALLEGATION 8: In paragraph 11, the Government alleges that the Army notified
Madrigal on February 7, 2022, of the Army’s intent to administratively separate Madrigal.

DEFENSE RESPONSE 8: On February 4, 2022, the Army informally notified Madrigal
of separation action, on February 11, 2022, the Army notified Madrigal formally of separation
action, and on February 24, 2022, the Army provided Madrigal with Notice of Honorable

Discharge.
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ALLEGATION 9: In paragraph 12, the Government alleges that the Army asked Madrigal
whether he “had any contact with a foreign national while assigned to the TJAGLCS?”

DEFENSE RESPONSE 9: Nowhere in the Government’s papers filed to date is any
identification of any actual foreign national with whom Madrigal is purported to have had contact.

ALLEGATION 10: The Government claimed that after December 2021, Victim I was
“terrified” of Madrigal. (Hrg. Tr. p. 10, In. 5 dated September 28, 2022).

DEFENSE RESPONSE 10: On March 8, 2022, after Victim 1’s February 2022 trip to see
Madrigal in Virginia, and Madrigal’s March 2022, trip to visit Victim 1 in Oklahoma, Madrigal
transferred $1000 to Victim 1 using the Zelle app (seized by the Government in Madrigal’s
electronic devices).

ALLEGATION 11: In paragraph 30 of the Indictment that Madrigal traveled from
Virginia to Victim 1’s home in “late December 2021, “over her objection.”

DEFENSE RESPONSE 11: In a voicemail dated January 1, 2022, in the Government’s
possession, after the December 2021 visit Madrigal paid to Victim 1 described in the Indictment,
Victim 1 states words to the effect of “begging” Madrigal to come back and telling Madrigal that
Victim 1 “loves” Madrigal.

Also in the Government’s possession are Madrigal’s bank statements and Zelle (money
transferring app). On December 20, 2021, Madrigal transferred $282.00 to Victim 1 in anticipation
of the trip to visit Victim 1 so that Victim 1 could buy dog food and pet supplies.

ALLEGATION 12: In paragraph 34, the Government alleges that Madrigal sent Victim |
an image of a “painted assault rifle.”

DEFENSE RESPONSE 12: Victim 1 is a commissioned officer on active duty in the

United States Army. Over the course of Victim 1 and Madrigal’s adult, consensual romantic
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relationship, the couple exchanged images of pistols and rifles on numerous occasions, as depicted
in the images in the Government’s possession seized and residing on Madrigal’s electronic

devices.
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IN THE UNITED STATES DISTRICT COURTFOR THE
WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

UNITED STATES OF AMERICA,
Case No. 3:22-CR-00019-NKM-JHC

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MANFREDO M. MADRIGAL, III, )
)
)

Defendant.
DECLARATION OF DAVID M. MADRIGAL

1. My name is David M. Madrigal, I am a citizen of the United States over the age of 18
years, reside in the state of Illinois, and I am a practicing attorney in the state of Illinois
with Illinois Attorney Registration and Disciplinary Commission Number 6342474.

2. The defendant in this case is my blood brother whom I love, respect, and for whose
service in combat to protect and defend our nation I am grateful.

3. Iam writing this declaration in addition to my previous declaration dated February 23,
2023.

4. L attended my brother’s detention hearing on March 2, 2023. I understand all the release
conditions given by the Magistrate Judge. I pledge to follow all release conditions given
by the Magistrate Judge. I also pledge that if my brother violates any release conditions, I
will report the violation however the Court deems necessary.

5. I would like to address a gross mischaracterization presented in the Government’s
memorandum in support of its motion to revoke the Magistrate’s order granting release.
The Government states that upon direction of my brother, I created a Strava account “to
locate information about Victim 1”. The Government states that this is “alarming” due to
me being an attorney and being “susceptible to the defendant’s inappropriate requests
even when made from jail.” Government goes on to state that “it shows David is willing
to use social media to locate (and potentially contact) a victim in this case.” The
Government states they pulled my search history and saw that I did previously search
Victim 1’s name. Lastly, the Government attempts to indicate my account was created
“for the sole purpose of tracking Victim 1”. The Government is referencing a phone call
on October 9, 2022, where I spoke to my brother. However, my Strava account was
created on October 4, 2022. This being 6 days prior to my conversation with my brother

EXHIBIT

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on October 9, 2022. The truth behind me making that account was due to an
advertisement indicating that if you downloaded Strava, completed 180 minutes of
activity on the app, you could win 2 tickets to New York, a $600 travel stiped, and meet
Andrew Huberman. I have provided documentation for both the date my Strava account
was created and for the advertisement that was posted on October 4, 2022. Andrew

Huberman is a podcaster that I listen to who provides science back ways to improve your
health and life.

6. There is no evidence to support that I am “willing to use social media to locate (and
potentially contact) a victim in this case”. I will also pledge once again that I will not, and
have not, used social media to contact, locate the present location of an alleged victim, or
track in alleged victim in this case. The Government has made it clear that they have
obtained my search history from Strava. Which means, they know all the searches I made
for Victim 1s account was made within a very narrow timeline. I did not, I have not, and I
will not use any form of technology or any other resource to attempt to track any alleged
victims in this case. I made it clear to the FBI when I spoke to them on March 13, 2023, 2
days before their memorandum was submitted, that I did not search for Victims 1 name to
track her in any form. I informed the FBI that I was already attempting to find evidence
showing that Victim 1 made false statements to the FBI. Therefore, I am not “susceptible
to the defendant’s inappropriate requests”.

I declare pursuant to 28 U.S.C. § 1746 under penalty of perjury that the foregoing is true
and correct.

Executed on this 16th day of March, 2023 in Barrington, Illinois, United States of America.

= SS =
Signed: ge EE >
David M. Madrigai

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L_ foale Respectfully submitted,
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/s/Jessica F. Phillips
Jessica F. Phillips (VSB #65953)

Rover Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@re.law

  

NOTARY PUBLIC

 

 
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/s/ John N. Maher

John N. Maher (IL Bar #6237599)
Kevin J. Mikolashek

MAHER LEGAL SERVICES, PC
17101 71st Avenue

Tinley Park, Illinois 60477

Tel: (708) 781-9212

Fax: (708) 781-9693
john@maherlegalservices.com
kevin(@@maherlegalservices.com
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CERTIFICATE OF SERVICE

I hereby certified that on this rtMday of Match 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECF system, which will send notification of
such filing to all counsel of record.

/s/Jessica F, Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@rc.law
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IN THE UNITED STATES DISTRICT COURTFOR THE
WESTERN DISTRICT OF VIRGINIA
Charlottesville Division

UNITED STATES OF AMERICA,
Case No. 3:22-CR-00019-NKM-JHC

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)
MANFREDO M. MADRIGAL, IM, )
)
)

Defendant.
DECLARATION OF MANFREDO M. MADRIGAL, JR. AND ROXANNE MADRIGAL

1. My name is Manfredo M. Madrigal, Jr. 1 am a citizen of the United States over the age of
18 years, reside in the state of Illinois, married to Roxanne Madrigal for 38 years, and the
defendant in this case is our beloved son,

2. Weare a tightknit family who loves Manny, respects him for his hard work and
dedication, and for whose service in combat to protect and defend our nation we are
grateful.

3. Weare writing this declaration in addition to our previous declaration dated February 27,
2023.

4. We have been informed of all the release conditions given by the Magistrate Judge. We

pledge to follow all release conditions given by the Magistrate Judge. I also pledge that if
our son violates any release conditions, we will report the violation.

5. We would like to address the Government stating in their memorandum in support of its
motion to revoke the Magistrate’s order granting release, that Jim Shaw indicated we
would have directly contacted Victim 2 absent him. We would like to clarify that Jim
Shaw was our son’s former state defense attorney. Jim Shaw was fired due to not
responding to emails/phones calls, making blatant lies, neglect, and other reasons. Once
we knew of the reasoning behind our son’s arrest, we did not and have not reached out to
Victim 2. We pledge once again, that we will not attempt to contact any alleged victim.

I declare pursuant to 28 U.S.C. § 1746 under penalty of perjury that the foregoing is true and
correct.

EXHIBIT

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Executed on this 16th day of March, 2023 in Barrington, Illinois, United States of America.

signe: WV YY) 2, /]

Manfredo M. Madrigal

 

NOTARY PUBLIC _,

 

 

Respectfully submitted,

/s/Jessica F. Phillips
Jessica F. Phillips (VSB #65953)

Rover Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@rc.law

/s/ John N. Maher

John N. Maher (IL Bar #6237599)
Kevin J. Mikolashek

MAHER LEGAL SERVICES, PC
17101 71st Avenue

Tinley Park, Illinois 60477

Tel: (708) 781-9212

Fax: (708) 781-9693
john@maherlegalservices.com
kevin@maherlegalservices.com
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CERTIFICATE OF SERVICE

I hereby certified that on this rthiay of Morch,, 2023, I electronically filed the
foregoing with the Clerk of the Court using the CM/ECE system, which will send notification of
such filing to all counsel of record.

/s/Jessica F, Phillips
Jessica F. Phillips (VSB #65953)

Royer Caramanis PLC

200-C Garrett Street
Charlottesville, Virginia 22902
Tel: (434) 260-8767

Fax: (434) 710-4061

E-mail: jphillips@re.law
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